IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE APPLICATION OF P.W RENTALS LTD.,

1251237 ALBERTA LTD.,, 1219172 ALBERTA LTD.
SILVER SKY RENTALS LTD., SHILO WILD, AND
PERRY WILD FOR AN ORDER TO TAKE DISCOVERY
PURSUANT TO 28 U.S.C. § 1782

Case No, 24-MC-91609

PETITIONERS’ CERTIFICATE OF SERVICE OF 28 U.S.C. § 1782 PETITION

Pursuant to the Court’s December 5, 2024, Order (ECF No. 9), Petitioners P.W. Rentals,
1251237 Alberta Ltd., 1219172 Alberta Ltd., Silver Sky Rentals Ltd., Shilo Wild, and Perry Wild,
by and through their counsel, hereby certify that on December 6, 2024, they caused true and correct
copies of the following documents to be served on Auction Mobility LLC:

1. Petition for Discovery in Aid of a Foreign Proceeding Pursuant to 28 U.S.C. § 1782
and attachments (ECF Nos. 1, 1-1, 1-2);

2. Memorandum of Law in Support of Petition for an Order to Take Discovery Pursuant
to 28 U.S.C, § 1782 (ECF No. 2);

3. Declaration of Paul Greep in Support of Petition for an Order to Take Discovery
Pursuant to 28 U.S.C. § 1782 (ECF No. 3);

4. December 4, 2024, Order of the Court giving Auction Mobility LLC 14 days from
service to respond to Petitioners’ Petition for Discovery in Aid of Foreign Proceeding
(ECF No. 7).

The foregoing documents were served on Auction Mobility’s registered agent in

Massachusetts at the following address:

Corporation Service Company

84 State Street

Boston, MA 02109

An Affidavit of Service confirming such service is attached as Exhibit A.
Dated: December 11, 2024

P.W. RENTALS LTD., 1251237 ALBERTA LTD.,
1218172. ALBERTA LTD., SILVER SKY
RENTALS LTD., SHILO WILD, AND PERRY
WILD

By their attorneys,

/s/ Stephen K. Garvey
Heather V. Baer (BBO #566746) .
Michele E, Connolly (BBO #680946)
Stephen K.. Garvey (BBO #707205)
FITCH LAW PARTNERS, LLP
84 State Street, 11' Floor
Boston, MA 02109
(617)542-5542
heb@fitchip.com
mec@fitchip.com
skg@fitchlp.com

